       Case 11-51513             Doc 2         Filed 12/16/11 Entered 12/16/11 13:14:58                    Desc Notice of
                                                     Deficiency Page 1 of 1
                                             UNITED STATES BANKRUPTCY COURT
                                                Western District of North Carolina
                                                      Wilkesboro Division

                                                         Case No. 11−51513
                                                             Chapter 13

In Re: Debtor(s) (name(s) used in the last 8 years, including married, maiden, trade, and address):
      Diana Houck
      318 Todd Railroad Grade Rd
      Todd, NC 28684
      Social Security No.: xxx−xx−6867




                                      NOTICE OF DEFICIENT FILING

NOTICE IS HEREBY GIVEN that the petition filed on behalf of the above−referenced debtor(s) did not include
the following items:

         Summary of Schedules
         Schedules A−J
         Declaration Concerning Schedules
         Form 7 (Statement of Financial Affairs)
         Chapter 13 Plan (Local Form 4)
         Local Form 13
         Chapter 13 Statement of Income
         Certification of Credit Counseling
         Statistical Summary of Certain Liabilities



FURTHER NOTICE IS GIVEN that if the above−referenced items are not filed with the Clerk of this Court within
the time set forth in the Federal Bankruptcy Code and the Local Bankruptcy Rules of this Court, this case will be
subject to dismissal by the Court without further notice or opportunity for hearing.



Dated: December 16, 2011                                                                       Steven T. Salata
                                                                                               Clerk of Court


Electronically filed and signed (12/16/11)
